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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

Jane Roe,                                     : Civil Action
                                              :
                                    Plaintiff : No.
                                              :
vs.                                           :
                                              :
The Pennsylvania State University, The        :
Pennsylvania State University Board of        :
Trustees, and John Doe                        :
                                              :
                                 Defendants :

                                        COMPLAINT

       Plaintiff Jane Roe (“Plaintiff”), by her undersigned counsel, brings this civil action

pursuant to the law cited herein against Defendants The Pennsylvania State University (“Penn

State”), The Pennsylvania State University Board of Trustees (“Penn State Board of Trustees”),

and John Doe (“Doe”) (collectively, “Defendants”).1

                                     INTRODUCTION

       1.      This is an action arising under Title VII of the Civil Rights Act of 1964, as

amended (“Title VII”), 42 U.S.C. § 2000e et seq.; the Pennsylvania Human Relations Act

(“PHRA”); Title IX of the Education Amendments of 1972 (“Title IX”), 20 U.S.C. § 1681(a);

Section 1983 of the Civil Rights Act of 1871 (“Section 1983”), 42 U.S.C. § 1983; the Equal Pay

Act of 1963 (“EPA”), 29 U.S.C. § 206(d); and Pennsylvania common law.

                               JURISDICTION AND VENUE

       2.      This Court has original jurisdiction to hear this action and adjudicate the claims

herein pursuant to 28 U.S.C. §§ 1331, 1343.



1“Jane Roe” is a pseudonym. Plaintiff will be filing a Motion for Permission to Proceed Under a
Pseudonym.

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       3.      Pursuant to 28 U.S.C. § 1367, the supplemental jurisdiction of this Court is

invoked with regard to Plaintiff’s PHRA and state common law claims.

       4.      All jurisdictional prerequisites to bringing this action have been satisfied because:

               (a)     Plaintiff dual-filed a timely Charge of Discrimination with the Equal

       Employment Opportunity Commission (“EEOC”) and the Pennsylvania Human

       Relations Commission (“PHRC”); and

               (b)     On February 15, 2018, the EEOC issued the Right to Sue Notice.

       5.      Venue is appropriate in the Eastern District of Pennsylvania because Penn State

resides within this judicial district and/or Penn State may be served with process therein. See 28

U.S.C. §§ 1391(b)(1) and (d).

       6.      Specifically, Penn State operates twenty-four (24) campuses throughout

Pennsylvania, including five (5) campuses that are located within the Eastern District of

Pennsylvania. See http://www.psu.edu/feature/2012/12/11/locations-throughout-pennsylvania

(accessed May 21, 2018).

                                         THE PARTIES

       7.      Plaintiff is an adult female and is a citizen and resident of the United States.

Plaintiff resides in Philadelphia, Pennsylvania.

       8.      At all relevant times, Plaintiff was a student at Penn State.

       9.      At all relevant times, Plaintiff was also employed with Penn State’s University

Police department.

       10.     Penn State is a domestic non-profit corporation with its headquarters located at

208 Old Main University Park, PA 16802.

       11.     Penn State employs over seventeen thousand (17,000) employees.




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        12.      Penn State is an employer within the meaning of Title VII, the PHRA, and the

EPA.

        13.      Penn State is a public university receiving federal funds and thus, subject to Title

IX.

        14.      The Penn State Board of Trustees “is the corporate body established by the

charter with complete responsibility for the government and welfare of the University and all the

interests     pertaining    thereto    including       students,   faculty,   staff   and   alumni.”

http://www.trustees.psu.edu/ (accessed May 21, 2018).

        15.      At all relevant times, Penn State and the Penn State Board of Trustees acted by

and through its agents and/or employees.

        16.      John Doe (“Doe”) is an adult male individual and is a citizen and resident of the

United States. Upon information and belief, Doe last resided in State College, Pennsylvania.

        17.      At all relevant times, Doe was a student at Penn State.

        18.      At all relevant times, Doe was also employed with Penn State’s University Police.

                                         BACKGROUND

                                      Penn State Policy AD-85

        19.      Penn State maintains a policy entitled “AD85 Sexual And/or Gender-Based

Harassment and Misconduct (Including Sexual Harassment, Sexual Assault, Dating Violence,

Domestic Violence, Stalking, and Related Inappropriate Conduct) (Formerly Discrimination,

Harassment...)” (“Policy AD-85”), which was published on January 27, 2014. See

https://policy.psu.edu/policies/ad85 (accessed May 21, 2018).

        20.      Pursuant to Policy AD-85 states, Penn State committed to providing “regular,

mandatory training for all University employees related to issues covered under this Policy.” See

id.


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        21.     Policy AD-85 defines sexual harassment as “unwelcome sexual advances, requests

for sexual favors, and other verbal or physical conduct of a sexual nature that is unwanted,

inappropriate, or unconsented to.” See id.

        22.      Policy AD-85 prohibits sexual harassment that “is sufficiently severe or pervasive

so as to substantially interfere with the harassed individual’s employment, education or access to

University programs, activities and opportunities, or creates a hostile or offensive environment

for that individual or others.” See id.

        23.     Policy AD-85 defines sexual misconduct as “a form of sexual harassment and

refers to sexual offenses including but not limited to rape, sexual assault, sexual battery, sexual

exploitation, sexual coercion and any other forms of nonconsensual sexual activity.” See id.

        24.     Policy AD-85 states, “[s]exual assault occurs when a person engages in sexual

intercourse or deviate sexual intercourse with a complainant without the victim’s consent, and

includes rape, fondling, incest, or statutory rape.” See id.

        25.     Policy AD-85 states, “[c]onsent must be informed, freely given and mutual . . . If a

person is mentally or physically incapacitated or impaired so that such person cannot understand

the fact, nature or extent of the sexual situation, there is no consent. This includes impairment or

incapacitation due to alcohol or drug consumption, or being asleep or unconscious, where the

respondent knew or reasonably should have known that the person was incapacitated.

Inducement of incapacitation of another with the intent to affect the ability of an individual to

consent or refuse to consent to sexual contact almost always, if not always, negates consent.” See

id.

        26.     Policy AD-85 states, “[s]talking is a course of conduct directed at a specific person

that would cause a reasonable person to fear for his/her safety or the safety of others, or to suffer

substantial emotional distress. Stalking may include repeatedly following, harassing, threatening,


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or intimidating another by telephone, mail, electronic communication, social media, or any other

action, device or method.” See id.

          27.          Policy AD-85 also prohibits retaliation. See id.

          28.          All Responsible Employees are required to report violations of Policy AD-85. See

id.

          29.          According to Policy AD-85, Penn State will discipline students who violate Policy

AD-85 in accordance with the Code of Conduct & Student Conduct Procedures Manual. See id.

          30.          According to Policy AD-85, Penn State will also discipline employees who violate

Policy AD-85. See id.

          Penn State’s Code of Conduct & Student Conduct Procedures Manual

          31.          Penn State also maintains a Code of Conduct & Student Conduct Procedures

Manual          (the         “Code   of   Conduct”).     See   https://studentaffairs.psu.edu/support-safety-

conduct/student-conduct/code-conduct (accessed May 21, 2018).

          32.          The Code of Conduct prohibits off campus conduct that affects a “Substantial

University Interest,” which is behavior that:

                       (a)      Violates local, state, or federal law;

                       (b)      Indicates that the student “may present a danger or threat of the health or

          safety of them or others;” or

                       (c)      Is detrimental to the educational interests of the University.

See id.

          33.          The Code of Conduct defines sexual harassment as:

                       Engaging in unwelcome conduct of a sexual nature that is sufficiently
                       severe or pervasive so as to substantially interfere with the individual’s
                       employment, education, or access to University programs, activities, and
                       opportunities, and such conduct would detrimentally affect a reasonable
                       person under the same circumstances. Sexual harassment may include, but


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                is not limited to, sexual advances, requests for sexual favors, sexual
                exploitation, stalking, dating violence, and domestic violence (as describes
                in policy AD-85).

                Sexual misconduct is a form of sexual harassment and refers to attempted
                or completed unwanted or non-consensual sexual activity, including, but
                not limited to the following . . . sexual assault, sexual battery . . .
                intercourse without consent . . .

See id.

          34.   The Code of Conduct defines harassment as “[e]ngaging in behavior that is

sufficiently severe or pervasive so as to threaten as individual or substantially interfere with the

individual’s employment, education or access to University programs, activities or opportunities,

and such behavior would detrimentally affect a reasonable person under the same

circumstances.” See id.

          35.   Stalking is harassment under the Code of Conduct. See id.

          36.   The Code of Conduct also contains “Special Protocols for Title IX Allegations,”

which describes Penn State’s Title IX investigation and hearing procedure (the “Title IX

Protocols”).

          37.   A true and correct of Penn State’s Title IX Protocol is attached hereto and

incorporated herein as Exhibit “A”. According to Penn State’s Title IX Protocols, once a

conduct process is initiated, these steps “will” occur. See id.

          FACTS RELEVANT TO PLAINTIFF’S TITLE VII AND PHRA CLAIMS
                      AND BREACH OF CONTRACT CLAIM

           Plaintiff Enrolls at Penn State; Begins Working for University Police

          38.   In August 2012, Plaintiff enrolled as an undergraduate student at Penn State.

          39.   In August 2013, Plaintiff began working for Penn State’s University Police as

Student Auxiliary Officer.




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       40.     “Student Auxiliary Officers are comprised of approximately 160 uniformed

student employees who provide various services to the Penn State community. Student Auxiliary

Officers are deployed to provide security and traffic for mostly all events, including but not

limited to: ICA sporting events, Rec Hall details, HUB Late Night and HUB socials, Bryce

Jordan Center events, Arrival Days, and Ag Progress. Additionally, Auxiliary Officers patrol in

the residence hall areas throughout campus to ensure our student housing is secure.”

https://police.psu.edu/student-auxiliary-officers (accessed May 21, 2018).

       41.     At all relevant times, Lt. Grimm supervised all Auxiliary Officers within

University Police. Lt. Grimm’s job duties included firing and recommending promotions for

Auxiliary Officers.

       42.     At all relevant times, Lieutenant Diane Grimm (“Lt. Grimm”) was Plaintiff’s

direct supervisor and acted as an agent of and on behalf of Penn State.

      Summer/Fall 2014 – Plaintiff First Reports a Hostile Work Environment

       43.     Starting in May 2014, Samir Glen-Roundtree (“Officer Glen-Roundtree”),

another Auxiliary Officer, began making inappropriate sexual jokes and comments in front of

Plaintiff in the workplace, including but not limited to the following:

               (a)     Officer Glen-Roundtree made a comment to Plaintiff in the general office

       area that he “thought about her a lot at night” when he was asleep.

               (b)     In June 2014, Officer Glen-Roundtree informed Plaintiff that he had a

       “sex dream” about her.

               (c)     Officer Glen-Roundtree also offered Plaintiff massages, claimed that

       Plaintiff “seemed tense,” and tried to massage Plaintiff’s shoulders.




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       44.     Plaintiff informed supervisors Lieutenant Joseph Persico (“Lt. Persico”) and

Sergeant Wesley Ernie (“Sgt. Ernie”) and Auxiliary Officer Tom Queppet (“Officer Queppet”) of

Officer Glen-Roundtree’s comments.

       45.     Lt. Persico reported Officer Glen-Roundtree’s behavior and comments to Lt.

Grimm.

       46.     Plaintiff also reported Officer Glen-Roundtree’s behavior and comments to Lt.

Grimm.

       47.     Lt. Grimm informed Plaintiff that Lieutenant Stephanie Brooks (“Lt. Brooks”)

would investigate Plaintiff’s complaint and that Officer Glen-Roundtree would be removed from

University Police.

       48.     Lt. Grimm told Plaintiff that Plaintiff would be interviewed further, that Officer

Glen-Roundtree would be interviewed, and that they would not be scheduled to work together

while the investigation was pending.

       49.     Much to Plaintiff’s dismay, instead of taking steps to protect Plaintiff from Officer

Glen-Roundtree during the investigation, Lt. Grimm scheduled Officer Glen-Roundtree and

Plaintiff to work alone together a mere one week following Plaintiff’s complaint. This made

Plaintiff extremely uncomfortable.

       50.     When Plaintiff asked Lt. Grimm about the status of the investigation against

Officer Glen-Roundtree and complained about the scheduling issues, Lt. Grimm told Plaintiff

that Penn State decided to terminate the investigation without taking any further steps or making

any final decision on Plaintiff’s complaint.

       51.     Lt. Grimm also told Plaintiff that she was “expected to be a professional and

handle this accordingly.” Plaintiff interpreted Lt. Grimm’s statement to mean that Plaintiff was

being instructed by her supervisor (Lt. Grimm) to drop the issue.


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          52.      Plaintiff was disappointed and unnerved, but made the decision to do as her

supervisor (Lt. Grimm) instructed in hopes of protecting Plaintiff’s career in law enforcement.

                Following Plaintiff’s Complaints, Penn State’s University Police
                                   Retaliates Against Plaintiff

          53.      Rather than taking steps to protect Plaintiff and address her complaints, officials

in University Police began to retaliate against Plaintiff for her complaints of sexual harassment.

          54.      On June 13, 2014, Plaintiff applied for a promotion from Auxiliary Officer to

Assistant Supervisor in Hiring, which included a wage increase.

          55.      Plaintiff was qualified for the Assistant Supervisor in Hiring position because of

her work experience, which included approximately one year of employment with the University

Police.

          56.      Lt. Grimm told Plaintiff that her promotion would be denied because Plaintiff was

“causing drama” within University Police.

          57.      Plaintiff asked Lt. Grimm how she was “causing drama” and what Plaintiff could

do to address Lt. Grimm’s concerns. Lt. Grimm stated that Plaintiff needed to “figure it out.”

          58.      During this time, Lt. Grimm also emailed all Auxiliary Officers, stating that they

needed to “stop the drama” around the office.

          59.      When Plaintiff asked Lt. Grimm what these emails were referring to, Lt. Grimm

advised Plaintiff that these emails were specifically in reference to Plaintiff.

          60.      The only “drama” that Plaintiff had been involved in at work was reporting sexual

harassment.

          61.      Plaintiff understood Lt. Grimm’s email and the subsequent statements to her to be

a reprimand issued in direct retaliation for Plaintiff’s complaints about sexual harassment in the

workplace.



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          62.   In August 2014, about six weeks after Plaintiff complained about Officer Glen-

Roundtree, Officer Glen-Roundtree left University Police of his own volition.

          63.   To Plaintiff’s knowledge, Penn State never opened a Title IX investigation or

otherwise investigated Plaintiff’s complaint nor did Penn State reprimand or sanction Officer

Glen-Roundtree for his sexually harassing behavior.

          64.   Furthermore, Penn State never advised Plaintiff of the outcome of her complaint

against Officer Glynn-Roundtree nor did Penn State offer Plaintiff any measures designed to

protect her from continued sexual harassment in the workplace by Officer Glen-Roundtree prior

to his departure.

          65.   While Plaintiff was uncomfortable with the way that Penn State and University

Police handled Plaintiff’s complaints, Plaintiff remained interested in pursuing a career in law

enforcement after graduating from Penn State.

          66.   Given Plaintiff’s strong desire to build her career in law enforcement, Plaintiff

continued to seek advancement within University Police, notwithstanding the fact that Plaintiff

had been explicitly advised that her report of sexual harassment had undermined her chances for

promotion.

          67.   On August 20, 2014, Plaintiff again applied for a promotion to a position as an

Assistant Supervisor in Hiring.

          68.   Plaintiff was qualified for the Assistant Supervisor in Hiring position because of

her work experience, which included approximately one year of employment with the University

Police.

          69.   Lt. Grimm informed Plaintiff that she would be promoted because Plaintiff had

“fixed her problems” from the last time Plaintiff sought a promotion, a mere two months earlier.

          70.   Plaintiff performed well in the Assistant Supervisor in Hiring position.


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        71.     In October 2014, Plaintiff applied for another promotion to Sergeant, which had

a wage increase.

        72.     Plaintiff was qualified for the Sergeant position based on her experience and

record within the department.

        73.     Plaintiff expected to receive this promotion; however, University Police denied

Plaintiff the promotion.

        74.     Notably, a male officer with far less experience than Plaintiff, Robert Inglima,

faced no barriers to promotion and was promoted easily to Corporal in far less time than it took

for Plaintiff to obtain that rank.

        75.     In or around January 2015, Lt. Grimm notified University Police employees that

the process for promotions would change. Previously, all supervisors and co-workers could

submit recommendations regarding an employee’s request for a promotion, which would become

a part of the employee’s personnel file. Lt. Grimm, however, changed the procedure so that she

would now personally select the supervisors and co-workers allowed to submit recommendations

for employees seeking promotion.

        76.     In January 2015, Plaintiff applied for another promotion to both a Lieutenant and

a Sergeant position, which would have included a wage increase.

        77.     Plaintiff was qualified for the Lieutenant and Sergeant positions based on her

experience and record within the department.

        78.     Additionally, Lt. Amelia Houtz recommended Plaintiff for the promotion to

Lieutenant.

        79.     Notwithstanding Plaintiff’s excellent qualifications and track record as an

employee, University Police again passed Plaintiff over for promotion for the fourth time since

Plaintiff made her initial sexual harassment complaint.


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        80.     Upon information and belief, Lt. Grimm made the decision to deny Plaintiff’s

promotion.

        81.     Instead of promoting Plaintiff, University Police promoted Corporal Inglima, who

Plaintiff had trained and supervised, above Plaintiff to Sergeant.

        82.     When Plaintiff inquired about being passed over for promotion yet again,

notwithstanding her qualifications, Lt. Grimm informed Plaintiff that she was still “causing

drama” in the office and, for that reason, was not prepared to be promoted.

        83.     Additionally, Lt. Grimm informed Plaintiff that her evaluations from her

supervisors had been “lost” and, as a result, Plaintiff had been denied the promotion.

        84.     Plaintiff asked Lt. Houtz about her evaluations and Lt. Houtz agreed to re-submit

copies of all of Plaintiff’s evaluations and recommendations to Lt. Grimm for review.

        85.     Lt. Grimm, however, merely said she would Plaintiff’s evaluations in her file, but

did not revisit the issue of promoting Plaintiff.

        86.     Lt. Grimm also denied Plaintiff’s request to review her personnel file and

evaluations.

                          Spring 2015 – Hostile Work Environment

        87.     In or around April 2014, Letra Renninger (“Officer Renninger”) began working

for University Police as an Auxiliary Officer.

        88.     Plaintiff and Officer Renninger became friends.

        89.     Upon information and belief, in May 2014, Officer Renninger took a leave of

absence from Penn State and University Police due to mental health issues.

        90.     In January 2015, Officer Renninger re-enrolled as a student at Penn State.

        91.     Lt. Grimm allowed Officer Renninger to resume her work at University Police as

an Auxiliary Officer.


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           92.     At all relevant times, University Police was aware of Officer Renninger’s mental

health issues.

           93.     Although Plaintiff was wary of Officer Renninger due to her history of

psychological instability, Plaintiff did not want to add to Officer Renninger’s considerable distress

by ignoring Officer Renninger’s attempts to resume their friendship. Therefore, Plaintiff

maintained casual contact with Officer Renninger.

           94.     Plaintiff received and responded to occasional text messages from Officer

Renninger and also saw Officer Renninger at work, on campus, and when visiting mutual

friends.

           95.     Officer Renninger developed a romantic interest in Plaintiff that Plaintiff did not

reciprocate.

           96.     Officer Renninger’s contact with Plaintiff became increasingly inappropriate. For

example:

                   (a)     Officer Renninger attempted to kiss Plaintiff at an off-campus party and

           Plaintiff had to push her off.

                   (b)     Officer Renninger repeatedly asked Plaintiff to be her girlfriend and began

           coming to Plaintiff’s apartment unannounced.

                   (c)     Officer Renninger also started texting Plaintiff inappropriately.

           97.     Plaintiff met with Officer Renninger and told her that she wanted to remain

friends, but advised Officer Renninger that she was becoming too “clingy” as a friend and

explained that her behavior was starting to become “weird.” Officer Renninger ignored

Plaintiff’s request and continued seeking contact with Plaintiff.




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       98.      On February 2, 2015, Officer Renninger contacted Plaintiff’s roommate and Lt.

Persico, who was Plaintiff’s boyfriend, to inform them that she was in the parking lot of Plaintiff’s

apartment building and was having an asthma attack.

       99.      Knowing that Officer Renninger had quite severe and potentially life threatening

asthma, and fearing for Officer Renninger’s well-being, Plaintiff, Lt. Persico, and Plaintiff’s

roommate ran downstairs to check on Officer Renninger and called 911 for her.

       100.     Plaintiff, Lt. Persico, and Plaintiff’s roommate followed Officer Renninger’s

ambulance to Mount Nittany Medical Center.

       101.     After arriving at Mount Nittany Medical Center, Plaintiff went into Officer

Renninger’s hospital room to see if she had recovered and if she was ok.

       102.     At this point, Officer Renninger confessed that she was in love with Plaintiff.

       103.     Plaintiff tried to be compassionate, but informed Officer Renninger that she did

not have any romantic feelings for her.

       104.     Officer Renninger then stated to Plaintiff, “if this continues, I’m going to turn on

you, because I want what I want.”

       105.     Since 911 was called, Patton Township Police appeared at the hospital to obtain a

report. Plaintiff informed the police officer about what had happened and was quoted as a

witness in the report. Later, Patton Township Police called Lt. Grimm to inform her of what had

occurred.

    February 3, 2015 – Plaintiff Reports Officer Renninger’s Sexual Harassment
        To Penn State Administrators; Penn State’s University Police Again
                             Retaliates Against Plaintiff

       106.     After Officer Renninger’s asthma-attack incident, Plaintiff was very concerned

that Officer Renninger’s behavior would escalate.




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       107.    Accordingly, on February 3, 2015, Plaintiff reported Officer Renninger’s conduct

to Mary Lou Stoner, an administrative assistant in the University Police office.

       108.    Ms. Stoner recommended that Plaintiff meet with David Gray, Senior Vice

President of Finance and Business, to see if he could help.

       109.    Plaintiff went to Mr. Gray’s office and had an in-person meeting with him.

       110.    During this meeting, Plaintiff reported what was occurring at work and how

Plaintiff felt unsafe working with Officer Renninger.

       111.    Plaintiff also explained that Plaintiff was concerned that Lt. Grimm would not

help Plaintiff because she had not previously helped Plaintiff after Plaintiff reported a hostile

work environment.

       112.    Mr. Gray instructed Plaintiff to meet with Lt. Grimm and stated that he wanted to

“wait to see what [Lt. Grimm] would do” before he recommended a course of action.

       113.    Mr. Gray also recommended that Plaintiff meet with Peggy Lorah, Director of the

Center for Women Students, in order to receive support and resources.

       114.    Plaintiff went immediately to Ms. Lorah’s office. Ms. Lorah recommended that

Plaintiff file a Title IX complaint against Officer Renninger, but based on Mr. Gray’s advice,

Plaintiff waited until she had a chance to meet with Lt. Grimm to see if Lt. Grimm would

mitigate the situation.

       115.    Later that day, Lt. Grimm called Plaintiff into her office to discuss the asthma-

attack incident regarding Officer Renninger. Plaintiff informed Lt. Grimm that Plaintiff felt

uncomfortable working with Officer Renninger.

       116.    Plaintiff also showed Lt. Grimm the text messages Officer Renninger had sent to

Plaintiff, which clearly indicated that Officer Renninger was harassing Plaintiff.

       117.    Plaintiff requested that she not have further contact with Ms. Renninger at work.


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        118.    Lt. Grimm was not surprised to hear about the stalking and harassing behavior

from Officer Renninger, but acted as if it was not a serious concern.

        119.    Lt. Grimm informed Plaintiff that she would need to speak with Human

Resources about the issue and give Plaintiff an answer later about her request to have Ms.

Renninger kept away from Plaintiff in the workplace.

        120.    Shortly after Officer Renninger recovered from her asthma attack, Officer

Renninger followed through on her threat to Plaintiff and became increasingly hostile toward

Plaintiff, including but not limited to:

                (a)     Officer Renninger began attacking Plaintiff through text message for

        “lying” about saving her life to their friends.

                (b)     Officer Renninger repeatedly complained to Plaintiff that Plaintiff was not

        spending enough time with her.

                (c)     Officer Renninger had access to Plaintiff’s work schedule and class

        schedule, and began stalking Plaintiff more frequently.

        121.    When Officer Renninger came up with excuses to see Plaintiff on a daily basis,

Plaintiff realized that Officer Renninger was following and stalking Plaintiff and became

increasingly concerned for her own safety.

        122.    Aware of Officer Renninger’s mental health history, Plaintiff began taking

extreme steps to avoid contact with Officer Renninger, including staying overnight at other

friends’ apartments. Plaintiff also asked her boyfriend to drive her around town when she needed

to travel, instead of taking the bus, because Officer Renninger knew Plaintiff’s class schedule and

would appear at these times.

        123.    In order to prevent Officer Renninger from being able to stalk Plaintiff around

her schedule at work, Plaintiff asked Lt. Houtz to change Plaintiff’s work hours at the last minute,


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so that her hours were not posted for Officer Renninger to see. Plaintiff tried to change her work

hours to two hours before or after she was initially scheduled to work.

         124.    While Lt. Houtz tried her best to accommodate Plaintiff’s request, Plaintiff

received write-ups and reprimands for missing work, coming in late, or calling in sick to avoid

Officer Renninger, even though many of these write-ups were due to the last minute confusion in

Plaintiff’s schedule created by trying to avoid Officer Renninger.

         125.    Lt. Houtz advocated for Plaintiff to Lt. Grimm to prevent write-ups from being

placed in Plaintiff’s record, but Lt. Grimm stated, “it didn’t matter, [Plaintiff] had to come to

work.”

         126.    During Plaintiff’s career at University Police, Plaintiff did not receive any write-

ups except for the write-ups she received due to trying to Officer Renninger stalking and

harassment of Plaintiff. These write-ups negatively impacted Plaintiff’s work history.

                  February 15, 2015 – Berkey Creamery Stalking Incident

         127.    On February 15, 2015, Plaintiff was walking near the Berkey Creamery on

campus when Plaintiff realized that Officer Renninger was following her.

         128.    Officer Renninger approached Plaintiff with hostility and told Plaintiff that she

was very upset that Plaintiff had reported her to Lt. Grimm. Officer Renninger told Plaintiff that

Lt. Grimm had told her about Plaintiff’s complaint, and cited to specific inappropriate text

messages she sent me.

         129.    Officer Renninger’s agitated state alarmed Plaintiff. Plaintiff twice told Officer

Renninger that Plaintiff did not want Officer Renninger near her. Officer Renninger continued

to try to talk to Plaintiff, but eventually left.




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       130.     Plaintiff was upset because she expected that Lt. Grimm would keep Plaintiff’s

complaints confidential and that Lt. Grimm would allow the investigation into her complaints to

unfold in a professional manner.

       131.     Instead, Lt. Grimm told Officer Renninger the details of Plaintiff’s complaint

without warning Plaintiff.

       132.     Plaintiff quickly realized that Lt. Grimm had no intention of handling Plaintiff’s

complaint properly and no longer felt safe making reports to Lt. Grimm.

       133.     Plaintiff reported the exchange Plaintiff had with Officer Renninger to Lt. Houtz,

who later advised Plaintiff that the incident would be reported to Lt. Grimm, according to

protocol.

       134.     Also on February 15, 2015, Plaintiff noted another promotional opportunity at

University Police. Plaintiff again applied for the positions of Lieutenant and Sergeant, which

included a wage increase.

       135.     Plaintiff was qualified for the Lieutenant and Sergeant positions based on her

experience and record within the department.

 February 16, 2015 – Penn State’s University Police Continues to Retaliate Against
               Plaintiff; Plaintiff’s First Meeting With Danny Shaha

       136.     The next day, on February 16, 2015, Lt. Grimm called Plaintiff into her office

and informed Plaintiff that, based on her “investigation,” there was “no evidence” to support

Plaintiff’s assertions that Plaintiff felt unsafe working with Officer Renninger.

       137.     Lt. Grimm also informed Plaintiff that if she continued to complain about Officer

Renninger, Plaintiff would be fired from University Police.




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          138.   Plaintiff expressed to Lt. Grimm that there was plenty of documentation of the

harassment and specifically mentioned the Berkey Creamery incident that had happened the day

before.

          139.   Plaintiff also asked Lt. Grimm to review the security camera footage. Lt. Grimm

said she had reviewed the security camera footage and did not see any issues.

          140.   Plaintiff reiterated to Lt. Grimm that she did not feel safe at work with Officer

Renninger around.

          141.   Lt. Grimm told Plaintiff to “file a police report” if Plaintiff did not feel safe,

instead of filing a Title IX complaint.

          142.   Finally, Lt. Grimm stated that she had received Plaintiff’s application for a

promotion and advised Plaintiff that due to the incidents with Officer Renninger, Plaintiff would

not be considered for any future promotions and would be “blacklisted.”

          143.   Plaintiff began to cry and Lt. Grimm said, “[y]ou can leave now.”

          144.   After the February 6, 2015 meeting with Lt. Grimm, Plaintiff went to Ms. Lorah’s

office and told Ms. Lorah what happened.

          145.   Ms. Lorah recommended that Plaintiff meet with Danny Shaha, Senior Director

of the Office of Student Conduct, who was responsible for processing Title IX complaints.

          146.   Ms. Lorah accompanied Plaintiff upstairs to Mr. Shaha’s office where Plaintiff

recounted the situation and explained the stalking and harassment she was experiencing from

Officer Renninger, as well as the retaliation she was receiving from Lt. Grimm.

          147.   Mr. Shaha told Plaintiff “not to worry” and that “it would be taken care of.”

          148.   Mr. Shaha also advised Plaintiff that Officer Renninger would be removed from

University Police and that he would call Lt. Grimm that day to ensure that Officer Renninger




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and Plaintiff would not be scheduled during the same shift during THON, which was an

upcoming event.

       149.     After Plaintiff explained to Mr. Shaha the history of Lt. Grimm discouraging

Plaintiff’s complaints and retaliating against Plaintiff for making previous sexual harassment

complaints, Mr. Shaha told Plaintiff that Lt. Grimm would be removed from work pending the

outcome of the investigation and assured Plaintiff that Plaintiff would not need to have contact

with Lt. Grimm.

       150.     After Plaintiff’s meeting with Mr. Shaha, Plaintiff was hopeful that Penn State

would finally address the ongoing sexual harassment and retaliation and that Plaintiff would feel

safe again on campus and at work.

       151.     Since Mr. Shaha stated he was going to talk to Lt. Grimm personally, Plaintiff also

expected that Plaintiff would be free from any future workplace retaliation.

     February 17, 2015 – Plaintiff’s Meeting with David Gray and Damon Sims

       152.     On February 17, 2015, Plaintiff was called to a meeting with Mr. Gray and

Damon Sims, Vice President of Student Affairs, in Mr. Gray’s office.

       153.     For the fourth time, Plaintiff shared her concerns and issues regarding Lt. Grimm

and Officer Renninger.

       154.     Mr. Gray and Mr. Sims informed Plaintiff that there was an investigation pending

against Lt. Grimm and involving University Police.

       155.     While Mr. Gray and Mr. Sims conceded that it would be stressful, they told

Plaintiff that she needed to “be patient” and assured Plaintiff the matter would finally be

resolved.

       156.     Mr. Gray and Mr. Sims also thanked Plaintiff for “cooperating.”




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        157.    Finally, Mr. Gray told Plaintiff that if incidents continued to occur, Plaintiff

should email him.

        158.    After this meeting, Plaintiff again felt hopeful that her complaints would be

resolved.

        159.    In an email to Ms. Lorah, Mr. Sims memorialized the February 17, 2015 meeting

and copied the following individuals: Mr. Shaha; Joseph Puzycki, Assistant Vice President of

Student Affairs; Plaintiff; Dr. Kenneth Lehrman, Vice Provost of Affirmative Action; and Mr.

Gray.

        160.    In the email, Mr. Sims stated, “[Plaintiff] met earlier with David to share concerns

about her interaction with two other students on the force, as well as the response I received from

supervising staff when I lodged complaints. Her complaints involve accusations of

misconduct that would seem to violate Title IX.”

        161.    Mr. Sims further stated, “The matter necessarily involves an employment

issue too, but I’d like the conversation to start with you, if possible. David and I expressly

promised that we could guard against any retaliation. [Plaintiff] was quite direct in

expressing concerns that retaliation has been an issue in past circumstances involving complaints

by auxiliary police personnel.”

                            February 20, 2015 – THON Incidents

        162.    On February 20, 2015, Lt. Grimm notified Plaintiff that she had spoken with Mr.

Shaha and that Officer Renninger and Plaintiff would not be working the same detail later that

night at THON.

        163.    Lt. Grimm, however, also told Plaintiff that she was “not going to get involved in

the issue between Plaintiff and Officer Renninger and that Plaintiff would need to “handle the

situation on [her] own.”


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        164.       Lt. Grimm reiterated from previous meetings that if she heard anything more

about the issue, Plaintiff would be fired and would not receive any future promotions.

        165.       Additionally, Lt. Grimm told Plaintiff that Plaintiff, not Officer Renninger, had to

request permission from Lt. Grimm to get hours for work each week to ensure that Plaintiff and

Officer Renninger did not encounter each other at work.

        166.       After this meeting, Plaintiff had mixed feelings. While Plaintiff was glad that

Officer Renninger was specifically instructed to stay away from Plaintiff, Plaintiff was upset

because Plaintiff also had an additional constraint put on her since Plaintiff was the one who had

to ask for permission to work each week.

        167.       This restriction led to Plaintiff working fewer hours each week since Plaintiff did

not have a set schedule. As a result, Plaintiff had a hard time paying her monthly bills.

        168.       Although Plaintiff was hopeful that she would not encounter Officer Renninger at

work based on Lt. Grimm’s instructions, Plaintiff quickly learned this was not the case.

        169.       While Lt. Grimm had not scheduled Plaintiff and Officer Renninger to work at

the same time, Lt. Grimm scheduled them at adjacent schedules so that Plaintiff needed to

relieve Officer Renninger from her duty, thereby requiring them to have contact.

        170.       On February 20, 2015, while Plaintiff was working at the Bryce Jordan Center

and talking with another co-worker, Officer Renninger walked in between Plaintiff and her co-

worker, and made statements about “hot girls” being around.

        171.       Plaintiff was extremely uncomfortable with Officer Renninger’s statement and

also the fact that Officer Renninger was boldly expressing that she had no intention of leaving

Plaintiff alone.

        172.       Later that night, Officer Renninger entered the work area and made sexually

inappropriate comments in front of others, including commenting on “eating out girls” and


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commenting on others’ body parts, including stating that she liked “tits” and that another officer

had “a fine ass.”

       173.     Lieutenants Houtz, Persico, and Terrance Kim observed Officer Renninger’s

behavior.

       174.     Plaintiff reported Officer Renninger’s stalking at the Bryce Jordan Center to Lt.

Houtz and Lt. Persico, who in turn reported it to Lt. Grimm.

       175.     Plaintiff expected that some action would be taken in response to her complaint

and thought that because Officer Renninger clearly violated a direct order to stay away from

Plaintiff, University Police would reprimand or dismiss Officer Renninger for her continued

harassment of Plaintiff.

       176.     University Police, however, did not issue any discipline to Officer Renninger and

no one followed up with Plaintiff to discuss the incidents.

       177.     After the incidents during THON weekend, Lieutenants Houtz, Persico, and Kim

requested that Officer Renninger have her dorm access privileges removed because they had

concerns about Officer Renninger’s mental health and her ability to use her master key to access

other students’ dorm rooms.

       178.     Although Officer Renninger was apparently called into Lt. Grimm’s office and

reprimanded regarding her language, this was the only reprimand Officer Renninger received.

       179.     Moreover, instead of being rewarded for taking steps to protect students, Lt.

Grimm reprimanded the officers who reported Officer Renninger.

       180.     Lt. Grimm reprimanded Lt. Persico for complaining about Officer Renninger’s

actions and told him to “mind his own business.”

       181.     Lt. Grimm also reprimanded three Auxiliary Officers who reported Officer

Renninger’s comments and behavior and told them to “stop causing drama” and threatened


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them with termination from their employment with University Police if they continued to raise

concerns about Officer Renninger.

       182.    At this point, it became clear to Plaintiff that Penn State did not intend to protect

Plaintiff from Officer Renninger.

       183.    Plaintiff became depressed, stressed, and anxious. Plaintiff was constantly on edge

because she had to look over her shoulder to see if Officer Renninger was following her.

       184.    Plaintiff also became overwhelmed by the numerous meetings she was having with

Penn State administrators and at work with Lt. Grimm.

       185.    Additionally, due to Plaintiff’s career goals in law enforcement and the negative

impact a mental health history could have on her career, Plaintiff did not feel that she could see a

professional to receive counseling.

       186.    Throughout the spring 2015 semester, Officer Renninger continued to come into

the office during Plaintiff’s work hours.

       187.    Although Lt. Grimm was well aware of Officer Renninger’s behavior, Lt. Grimm

did nothing to intervene.

       188.    Plaintiff simply tried her best to avoid Officer Renninger and remained extremely

uncomfortable with her forced proximity to Officer Renninger.

            February 26, 2015 – Plaintiff Files a Written Title IX Complaint
                              Against Officer Renninger

       189.    On February 26, 2015, in response to Mr. Shaha’s February 24, 2015 request,

Plaintiff submitted a written complaint summarizing her issues with Officer Renninger and Lt.

Grimm.




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        190.    Plaintiff’s complaint detailed Officer Renninger’s harassment and stalking of

Plaintiff, Lt. Grimm’s retaliation against Plaintiff for complaining about a hostile work

environment, and the recent disturbing THON incident.

        191.    On March 1, 2015, Mr. Shaha replied to Plaintiff and said that he would “be in

touch soon.”

        192.    Plaintiff and Mr. Shaha arranged a meeting for March 25, 2015.

               March 17, 2015 – Plaintiff Reports Lt. Grimm’s Retaliation

        193.    On March 17, 2015, Plaintiff emailed Mr. Gray to update him on the situation

Plaintiff was facing at work with Lt. Grimm and Officer Renninger.

        194.    Specifically, Plaintiff stated that Lt. Grimm threatened to fire Plaintiff and refused

to consider Plaintiff for promotions based on Plaintiff’s complaints regarding Officer Renninger.

        195.    Plaintiff also stated that due to Officer Renninger’s presence and Lt. Grimm’s

inaction and retaliation, Plaintiff did not feel safe at work.

        196.    Plaintiff also stated that she felt that she was facing retaliation for filing a Title IX

complaint against Officer Renninger.

        197.    Mr. Gray responded to Plaintiff’s email by stating that he would see to it that her

situation is appropriately addressed and would “be back in touch.”

        198.    The next day, Plaintiff received an email from Regis Becker, Penn State’s Chief

Ethics and Compliance Officer, requesting that Plaintiff attend a meeting with him and Robert

Maney, Senior Director of Human Resources, to follow up with Plaintiff about her complaints to

Mr. Gray. A meeting was scheduled for March 26, 2015.

        199.    At this point, Plaintiff was dedicating significant time to pursuing numerous

avenues of administrative complaints, none of which had resolved Plaintiff’s overall safety

concerns.


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          200.   This haphazard process, in which Plaintiff had to repeatedly tell the same story

over and over to different Penn State officials, created significant distress for Plaintiff and

interfered with Plaintiff’s ability to carry out her educational objectives.

          201.   Plaintiff also considered filing a criminal complaint against Officer Renninger, but

elected not to because Plaintiff was already invested in addressing the problem through Penn

State channels and because Plaintiff did not want to escalate the situation further for fear that

Officer Renninger would become even more hostile and unstable, as she had in the past when

Plaintiff made formal complaints.

            March 19, 2015 – Officer Renninger Files a PFA Against Plaintiff;
                  Lt. Grimm Continues to Retaliate Against Plaintiff

          202.   To Plaintiff’s shock, on March 19, 2015, Officer Renninger filed a Protection

From Abuse (“PFA”) action against Plaintiff.

          203.   In her PFA petition, Officer Renninger alleged that abuse took place on March

16, 2015, when Plaintiff “went to the office of student conduct and made a report claiming that

she was stalking and harassing me.”

          204.   Based on other false allegations within the petition, a temporary PFA order was

issued on an ex parte basis.

          205.   Plaintiff was stunned to learn that Lt. Grimm had advised Officer Renninger to

seek a protective order against Plaintiff even though Lt. Grimm was well aware that Plaintiff had

made multiple complaints to numerous Penn State officials about Officer Renninger’s

harassment and stalking of Plaintiff.

          206.   Upon information and belief, Lt. Grimm advised Officer Renninger to seek a

protective order against Plaintiff because Lt. Grimm wanted Plaintiff to be fired from University

Police.



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         207.    Due to the temporary PFA against Plaintiff, Plaintiff’s work hours were further

curtailed. Plaintiff was only allowed to work 4-5 hours per week, down from 15-20 hours per

week, and had to seek special permission to work each week’s hours so that Plaintiff did not work

during times when Officer Renninger was present.

         208.    Despite the fact that Plaintiff was the victim of Officer Renninger’s harassment, a

fact that was well documented within Penn State, Plaintiff was the one who was punished.

         209.    The reduction in Plaintiff’s work hours significantly affected Plaintiff’s income

throughout the semester, making it extremely difficult for Plaintiff to remain a student at Penn

State.

         210.    Plaintiff attempted to meet with Dr. Ken Lehrman, Vice Provost for Affirmative

Action, to find out more information about what was happening with Plaintiff’s Title IX

complaint and to report the PFA and work issues.

         211.    Dr. Lehrman was not in his office, so Plaintiff had a cursory meeting with Carmen

Borges, Associate Director of Affirmative Action, in his place.

         212.    Plaintiff detailed her issues and provided the names of two potential witnesses for

Ms. Borges to interview, including Lt. Persico.

         213.    Ms. Borges told Plaintiff that she would look into it and be in contact with Plaintiff

in the future.

         214.    After a class on Title IX taught by Dr. Lehrman, Plaintiff approached Dr.

Lehrman and explained to him that she felt she was being retaliated against for her complaints.

         215.    Dr. Lehrman told Plaintiff that he was “aware of [her] situation,” based on his

conversations with Mr. Shaha.




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        216.      Plaintiff reiterated that she needed to seek permission to work, which was

negatively affecting her. Dr. Lehrman responded that this mandate was to “ease the stress for

both [Officer Renninger and Plaintiff]” during this process.

        217.      Plaintiff told Dr. Lehrman that Officer Renninger should also need to seek

permission at work in order for the process to be fair. Dr. Lehrman told Plaintiff that he would

“look into it.”

        218.      When Plaintiff asked when she could expect an answer, Dr. Lehrman said that

Plaintiff should “just be patient.” Plaintiff never heard from Dr. Lehrman again.

               March 25, 2015 – Plaintiff’s Second Meeting with Danny Shaha

        219.      On March 25, 2015, Plaintiff met with Mr. Shaha and informed him of the PFA

filing, explaining that Plaintiff believed it was unfair for Penn State to punish Plaintiff for filing

her Title IX complaint and reiterated her request for Officer Renninger to be removed from the

workplace.

        220.      Mr. Shaha informed Plaintiff that the situation at work was “out of his hands” due

to the PFA and because Officer Renninger had gone “through the legal system.” Mr. Shaha

informed Plaintiff that Plaintiff would have to resolve her issues through the PFA action, rather

than through Penn State.

        221.      Later that day, Plaintiff emailed Mr. Sims to provide him with a written summary

of the retaliation Plaintiff faced from Lt. Grimm and the PFA that Officer Renninger filed

against Plaintiff.

        222.      Plaintiff did not receive a response from Mr. Sims or any acknowledgement of this

complaint.




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                  March 26, 2015 – Plaintiff’s Meeting with Regis Becker

        223.     On March 26, 2015, Plaintiff had a two-hour meeting with Mr. Becker regarding

Lt. Grimm’s retaliation against Plaintiff.

        224.     Despite being led to believe that Mr. Maney would be present throughout the

meeting, after a half-hour, Mr. Maney left and another person took his place during this meeting.

This continued throughout the meeting, where every half-hour, a new person would arrive and

sit in the second chair in order to have a witness present during Mr. Becker’s meeting with

Plaintiff.

        225.     Mr. Becker had a packet of prepared questions regarding University Police and

Lt. Grimm; however, none of the questions were specific to Officer Renninger’s harassment of

Plaintiff or Lt. Grimm’s retaliation against Plaintiff.

        226.     Instead, the questions were very general. For example, “[d]o all police officers

wear their uniforms at all times?” and “[d]oes dispatch appropriately respond to officers’ calls?”

        227.     When Plaintiff tried redirecting the answers to her specific complaints, Mr. Becker

stated, “[t]hat’s not why you’re here, that’s not what this is all about.”

        228.     Plaintiff left the meeting feeling frustrated, as it was another example of Penn

State’s failure to address Plaintiff’s concerns.

        229.     Upon information and belief, Mr. Becker had the same interview with Lt. Persico

by telephone. When Lt. Persico mentioned the issues involving Officer Renninger and Lt.

Grimm, Mr. Becker told Lt. Persico to keep his answers to the questions in the packet.




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                          April 7, 2015 – Temporary PFA Vacated;
                       Plaintiff’s Reduced Work Hours Still In Effect

        230.    On April 7, 2015, the temporary PFA issued on March 19, 2015 was vacated.

        231.    Also on April 7, 2015, Plaintiff provided a written account of her experiences to

Mr. Becker via email to follow up on their March 26, 2015 meeting.

        232.    In Plaintiff’s email, she summarized Officer Renninger’s harassment of her as well

as Lt. Grimm’s retaliation and inaction regarding Plaintiff’s complaints.

        233.    Plaintiff also included information about other instances of retaliation by Lt.

Grimm against Plaintiff and other officers who made workplace-related complaints, identifying

Lt. Grimm’s longstanding pattern of retaliatory behavior.

        234.    Later that day, Mr. Becker replied to Plaintiff’s email and asked if he could share

Plaintiff’s account with Mr. Gray and Susan Basso, Vice President and Chief Human Relations

Officer. Plaintiff agreed.

        235.    On April 8, 2015, Plaintiff showed proof that the PFA had been vacated to

Assistant Chief William Moerschbacher and requested that Plaintiff be permitted to return to her

normal work hours.

        236.    Lt. Moerschbacher told Plaintiff that Penn State could not return Plaintiff to her

normal work hours because Plaintiff was “still considered a threat” to Officer Renninger.

        237.    Plaintiff asked how this was possible since a judge had decided that Plaintiff was

not a threat to Officer Renninger.

        238.    Lt. Moerschbacher told Plaintiff it did not matter, that they still considered

Plaintiff a threat, and that Plaintiff would still need to seek permission to work her reduced hours.




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                    April 14, 2015 – Plaintiff’s Makes a Written Request
                               For an Administrative Directive

       239.      On April 8, 2015, Mr. Shaha emailed Plaintiff to inquire about the results of the

PFA hearing.

       240.      Plaintiff responded with an update about the new hearing date and reported that

University Police would not permit Plaintiff to work without asking permission even though the

temporary PFA was vacated.

       241.      On April 14, 2015, Mr. Shaha emailed Plaintiff to ask her if she was interested in

an administrative directive and to find out if Ms. Borges had been in contact with Plaintiff.

       242.      In Plaintiff’s email response to Mr. Shaha, Plaintiff stated, “No Carmen has not

been in contact with me. I would only be interested in the administrative directive if it says she

has to stay away from me. Not both ways due to issues with work. I am still not able to come to

work without seeking permission despite the fact that the PFA was lifted. Also, I would like to talk

about filing a [Title] IX against Lt. Grimm.”

       243.      Mr. Shaha failed to respond to Plaintiff’s request for an administrative directive

and Plaintiff did not receive any further communication from Mr. Shaha about her request for

an administrative directive.

       244.      Upon information and belief, Penn State did not issue any administrative

directive.

       245.      Mr. Shaha also did not respond to Plaintiff’s request to file a Title IX complaint

against Lt. Grimm.

                    April 22, 2015 – Officer Renninger Withdraws PFA;
                      Plaintiff’s Work Restrictions Remain In Effect

        246.     On April 22, 2015, Officer Renninger withdrew her petition for a PFA.

Accordingly, a final PFA was never entered against Plaintiff.


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       247.    Plaintiff hoped this would allow her to return to work.

       248.    Notwithstanding the absence of a PFA, Plaintiff’s continued complaints, and

Plaintiff’s status as the victim of sexual harassment, Plaintiff continued to be retaliated against by

being offered significantly reduced work hours.

       249.     Plaintiff continued to have to seek special permission from Lt. Moerschbacher so

that Plaintiff could adjust her work schedule around Officer Renninger’s schedule.

       250.    Upon information and belief, University Police permitted Officer Renninger to

continue to work the hours she chose.

       251.    This unjustified punishment for Plaintiff’s complaints had a significantly negative

impact not only on Plaintiff’s economic situation but also on Plaintiff’s ability to function as a

student, including but not limited to:

               (a)     Plaintiff had to borrow money from her parents and family members to

       pay her monthly bills.

               (b)     Plaintiff could not afford her books for her classes and was not able to do

       her work for her courses.

               (c)     Plaintiff needed medical treatment many times over the semester due to

       stress-related illnesses, like stomachaches and headaches. Additionally, Plaintiff had

       trouble sleeping due to stress and would fall asleep in her classes.

               (d)     Plaintiff was forced to miss class to order to meet with administrators and

       her PFA lawyer.

       252.    In addition to financial constraints, Plaintiff faced continued harassment at work.

For example, other Auxiliary Officers made snide comments about Plaintiff when she walked b

and they would try to walk around Plaintiff and made comments like, “[o]h, I better stay away or

she will file a Title IX against me.”


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        253.    Plaintiff was ostracized and frequently spent her work hours doing paperwork in

an office alone.

        254.    Although Lt. Grimm was well aware of the workplace environment, she took no

steps to change it.

        255.    On April 30, 2015, Plaintiff emailed Mr. Shaha to inform him that Officer

Renninger dismissed her PFA petition but that Plaintiff still needed to seek permission to work.

Plaintiff also requested that Mr. Shaha take steps to address this situation.

        256.    Plaintiff also reiterated to Mr. Shaha that Ms. Borges had not yet contacted

Plaintiff to conduct an investigation – a full two months after Plaintiff’s complaint.

        257.    In fact, contrary to Mr. Shaha’s repeated assertions to Plaintiff that Penn State

was investigating Plaintiff’s complaint, more than eighty-six days after Plaintiff initially reported

Officer Renninger’s harassment, no investigation had yet taken place. Penn State had not

contacted either Plaintiff or her witnesses.

        258.    Mr. Shaha did not respond to Plaintiff’s email.

        May 5, 2015 – Carmen Borges Sends “Results Of Investigation” Email

        259.    On May 5, 2015, over ninety days after Plaintiff initially reported sexual

harassment to Mr. Gray, Plaintiff finally received an email from Ms. Borges, with Timothy

Mercer, Assistant Vice President of University Police and Public Safety, and Kari Allatt,

Employee Relations Officer in the Office of Human Resources, copied on the email.

        260.    The email included an attached letter that contained “the results of [Ms. Borges’]

investigation” based on Plaintiff’s initial complaint. Ms. Borges stated that there were “conflicting

accounts” of the incidents reported, but nonetheless recommended that Plaintiff “be reconsidered

for a promotion, utilizing standard promotion procedures in place at the time [Plaintiff] applied.”




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        261.    Ms. Borges ended the letter by indicating that Dr. Lehrman concurred with her

findings.

        262.    Plaintiff was surprised to hear that Penn State’s “investigation” into her

complaints had been concluded, given that Penn State never contacted Plaintiff for an interview,

and, to the best of Plaintiff’s knowledge, never contacted Plaintiff’s witnesses.

        263.    Plaintiff was also extremely disappointed that Penn State did not offer Plaintiff any

information regarding how Penn State planned to address Plaintiff’s numerous complaints that

had raised serious concerns about Officer Renninger’s harassment of Plaintiff and Lt. Grimm’s

retaliation against Plaintiff.

        264.    On May 16, 2015, Plaintiff emailed Ms. Borges, Mr. Gray, Dr. Lehrman, and

Mr. Shaha, seeking clarification about Ms. Borges’ letter. Plaintiff asked if Penn State’s

investigation was in regards to Plaintiff’s Title IX complaint against Ms. Renninger or Plaintiff’s

complaints about Lt. Grimm. Plaintiff also sought clarification on when Plaintiff would receive a

promotion and when Plaintiff could stop asking for permission to work.

        265.    On May 19, 2015, Ms. Borges responded to Plaintiff’s email by requesting that

Plaintiff meet with her in her office.

        266.    On May 26, 2015, Plaintiff responded to Ms. Borges’ email and asked if Plaintiff

could record the meeting and bring a friend.

        267.    In response, on May 27, 2015, Ms. Borges did not move forward with a proposed

meeting and instead offered clarification via email. In the email, Ms. Borges stated that her

investigation “refers to both your sexual harassment complaint and the complaint concerning

Diane Grimm.”

        268.    Ms. Borges further stated that since Officer Renninger stopped sending

inappropriate text messages, this “complied with the resolution of your complaint.”


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       269.     Finally, Ms. Borges wrote that Plaintiff’s reconsideration for promotion was

recommended to “new administration in police services” and she “[didn’t] know” their final

decision on the matter.

       270.     Due to the emotional distress Plaintiff had suffered based on the actions of Lt.

Grimm, Ms. Renninger, and Penn State, as well as the considerable time Plaintiff had to spend

unsuccessfully attempting to get Penn State to properly address Plaintiff’s complaints and to

ensure Plaintiff’s safety, Plaintiff was unable to adequately tend to her coursework throughout the

semester.

       271.     Plaintiff’s grades dropped significantly in two of her classes.

       272.     As a result, Plaintiff had no other choice but to request a “trauma drop” for the

semester to drop her classes, rather than use the grades towards her overall grade point average.

       273.     On May 17, 2015, Ms. Lorah granted Plaintiff’s request for the trauma drop.

                     Summer 2015 – Plaintiff Experiences Continued
                            Harassment and Retaliation

       274.     While Lt. Grimm was demoted from a coordinator to patrol duty and was not

allowed to supervise students moving forward, Plaintiff maintained her rank and continued her

work at University Police.

       275.     Throughout Summer 2015, Plaintiff had to have contact with Lt. Grimm in the

workplace and Officer Renninger continued to work at University Police.

       276.     Lt. Grimm made the workplace even more uncomfortable for Plaintiff. Lt. Grimm

maintained her office in the same location where Plaintiff needed to put in her paperwork each

week. Lt. Grimm also stared and glared at Plaintiff when Plaintiff came into the office.

       277.     Plaintiff also learned that Lt. Grimm started stalking Plaintiff and Lt. Persico off-

campus in a patrol car, including following them to Plaintiff’s apartment.



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       278.    Additionally, due to Lt. Persico’s personal relationship with Plaintiff, Lt. Grimm

began retaliating against him as well. For example:

               (a)     Although highly qualified, Lt. Persico had applied for several positions at

       the Penn State Police department but was denied on multiple occasions, without even an

       interview.

               (b)     Lt. Grimm took it upon herself to complain about Lt. Persico’s work and

       recommended that he not be hired at Patton Township Police, even though he had

       neither submitted an application there nor listed her as a reference on any applications.

       279.    Officer Renninger also continued to attempt contact Plaintiff at the workplace.

For example:

               (a)     Officer Renninger tried bringing Plaintiff into conversations with other

       people and talked loudly to let Plaintiff know that she was present.

               (b)     In September 2015, Officer Renninger approached Officer Renninger

       and asked if they could talk in private. Plaintiff refused and stated that any conversations

       between them would need to take place in front of Lt. Jason Zajac, the new supervisor

       who replaced Lt. Grimm.

               (c)     Officer Renninger complained that Plaintiff had her personal items at

       Plaintiff’s apartment and that she needed them back. Plaintiff stated that she did not have

       any of Officer Renninger’s items and told Officer Renninger to leave her alone.

                     Plaintiff’s Leave of Absence and Continued Harm

       280.    Penn State’s failure to appropriately address Plaintiff’s complaints caused Plaintiff

to decide to enter the military earlier than she had planned.

       281.    Plaintiff made the decision to remove herself from the environment at Penn State

and University Police, which felt unsafe and had become intolerably hostile.


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        282.     On August 22, 2015, Plaintiff obtained a leave of absence from Penn State for her

military service.

        283.     Plaintiff felt the need to remove herself from Penn State in order to get away from

Officer Renninger.

        284.     Plaintiff dropped classes that were essential to progress towards her degree, lost

many hours of work, entered the military earlier than expected, and ultimately took a leave of

absence from her studies.

        285.     Additionally, Plaintiff lost grants earned based on her academic performance.

        286.     Since Plaintiff had no choice but to enter the military earlier than expected,

Plaintiff’s earning capacity and career trajectory was derailed. When Plaintiff entered the military

to escape the harassment and retaliation that Plaintiff was facing at Penn State, Plaintiff entered

at a significantly lower rank than she had planned.

              FACTS RELEVANT TO PLAINTIFF’S TITLE IX, SECTION 1983,
                         AND ALL COMMON LAW CLAIMS

     Plaintiff Re-Enrolls at Penn State, Returns to University Police, is Sexually
          Harassed and Assaulted by Another University Police Co-Worker

        287.     In Fall 2016, Plaintiff re-enrolled at Penn State to complete her studies. Plaintiff

also returned to her position with Penn State’s University Police.

        288.     During Fall 2016, Plaintiff caught up with a co-worker, Doe, during Plaintiff’s

University Police shifts.

        289.     Plaintiff had known Doe since August 2013 because they worked the same shift

and detail.

        290.     Plaintiff had previously invited Doe over to her apartment to socialize.

        291.     In Fall 2016, University Police promoted Doe to a Manager position above

Plaintiff.


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        292.    In Fall 2016, Doe told Plaintiff that two female Auxiliary Officers had accused

him of sexual misconduct by filing complaints against him. Doe told Plaintiff that the women

were lying.

        293.    Plaintiff believed Doe because she did not know the female Auxiliary Officers very

well and because Plaintiff and Doe were friends.

        294.    In Fall 2016, Doe told Plaintiff that he liked her more than friend. Plaintiff

explained to Doe that she did not feel the same way and that she was happy with her three-year

relationship with her boyfriend.

        295.    On January 27, 2017, Plaintiff was working until 9:00 p.m. Plaintiff invited Doe

and Frank Piatrowski, another friend and co-worker, to come over to her apartment after the

shift for some drinks.

        296.    Officer Piatrowski declined Plaintiff’s invitation, but Doe accepted Plaintiff’s

invitation.

        297.    Plaintiff later learned that while she was changing in another room, Doe pulled

handcuffs from his duffle bag and told Officer Piatrowski what he planned to do to Plaintiff.

        298.    After Plaintiff changed her clothes, Plaintiff told Doe that he would need to

arrange for a ride home since they would be drinking. Doe told Plaintiff that he texted his

roommate to pick him up.

        299.    At Plaintiff’s apartment, Plaintiff and Doe ordered pizza and drank vodka. When

the pizza arrived, Plaintiff left her drink unattended to while she paid for the pizza.

        300.    Plaintiff and Doe ate pizza and talked and Plaintiff had a few shots of vodka that

Doe poured for her. Doe did not seem to be drinking as much vodka, even though he kept

pouring shots for Plaintiff.




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       301.    During the early morning hours of January 28, 2017, Plaintiff became

incapacitated. Doe carried Plaintiff to her bedroom and engaged in sexual intercourse without

Plaintiff’s knowledge or consent (the “January 28, 2017 Incident”).

       302.    When Plaintiff woke that morning, Plaintiff learned that Doe had sexual

intercourse with her and that Doe did not use a condom.

       303.    Plaintiff did not consent to any sexual activity with Doe.

       304.    Although Plaintiff was upset, Doe told Plaintiff to “stop crying” and “get over it.”

       305.    Doe eventually left Plaintiff’s apartment.

       306.    Plaintiff later went to Mount Nittany Medical Center to be examined because she

was bleeding and in pain.

       307.    Plaintiff was swollen and tender. The Mount Nittany Medical Center nurses had

to make several attempts at a pelvic examination because Plaintiff was so swollen.

       308.    Since Doe told Plaintiff that he did not use a condom, the nurses gave Plaintiff

HIV and STD medication.

       309.    The HIV medication made Plaintiff sick, causing Plaintiff not to pass a physical

exam for the military, which set Plaintiff’s military career back.

       310.    Since the January 28, 2017 Incident, Plaintiff has nightmares, feels anxiety when

she is alone, and has trouble trusting others.

       311.    Further, Plaintiff was constantly reminded of Doe while at work because she saw

his name on the University Police employee list.

       312.    The January 28, 2017 Incident negatively impacted Plaintiff’s health, her studies,

her relationships, and her career.




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       Officer Piatrowski Reports the January 28, 2017 Incident to Penn State;
                      Penn State Opens a Title IX Investigation

       313.    Plaintiff reported the January 28, 2017 Incident to her friend and co-worker,

Officer Piatrowski.

       314.    On or about January 28, 2017, Officer Piatrowski filed an anonymous Title IX

complaint regarding the January 28, 2017 Incident.

       315.    Thereafter, Penn State opened a Title IX investigation.

       316.    As part of Penn State’s Title IX investigation, Plaintiff participated in three

interviews:

               (a)      On January 30, 2017, Plaintiff and her attorney met with Paul Apicella,

       Penn State’s former Title IX Coordinator.

               (b)      On February 10, 2017, Plaintiff and her attorney met with Chris Harris,

       Penn State’s Title IX Investigator. Mr. Harris told Plaintiff that Penn State’s investigation

       should take approximately 60 days.

               (c)      On March 17, 2017, Plaintiff and her attorney again met with Mr. Harris.

       Mr. Harris told Plaintiff that Doe wanted to submit a polygraph examination. Plaintiff

       objected to Doe’s submission of a polygraph examination. Plaintiff also informed Mr.

       Harris that two other female students who worked in the University Police office had filed

       complaints against Doe, which alleged sexual assault.

       317.    On April 14, 2017, Mr. Harris informed Plaintiff that he was working on his

investigative report.

       318.    On May 16, 2017, Mr. Harris informed Plaintiff that he completed a draft

investigative report. Mr. Harris informed Plaintiff that Doe’s polygraph examination results

would be included in the investigative report, despite Plaintiff’s objection.



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       319.    On May 25, 2017, Plaintiff met with Mr. Harris to review the investigative report.

       320.    On July 24, 2017, Mr. Harris contacted Plaintiff to schedule another meeting to

review a revised investigative report.

       321.    On August 7, 2017, Plaintiff met with Mr. Harris to review an updated

investigative report. During this meeting, Mr. Harris mentioned that he met with Doe three

times over the summer. Plaintiff reminded Mr. Harris about the two prior complaints of alleged

sexual assault made against Doe. Mr. Harris indicated that he would ask Doe’s supervisor if there

were any prior complaints filed against Doe.

       322.    On August 15, 2017, Mr. Harris indicated that he submitted his investigative

report to the Office of Student Conduct for review.

      Penn State Issues Two Major Charges to Doe; Doe Contests the Charges

       323.    On October 12, 2017, Karen Feldbaum, Interim Senior Director, Office of

Student Conduct, issued two major charges to Doe:

               (a)     2.05 – Nonconsensual Intercourse

               (b)     2.07 – Sexual Misconduct Involving an Incapacitated Person, which Penn

       State defines as “engaging in sexual activity with a person who is unable to give

       reasonable consent due to incapacitation resulting from substance abuse, captivity, sleep,

       or disability.” http://www.psu.edu/ur/2014/Task_Force_final_report.pdf (accessed May

       18, 2018).

       324.    Ms. Feldbaum issued the following sanctions to Doe: Indefinite expulsion with

August 15, 2018 being the first time Penn State would consider re-enrollment; psychiatric

evaluation prior to readmission; favorable evaluation; counseling required for readmission.

       325.    Doe contested the charges that Ms. Feldbaum issued to him.

       326.    Had Ms. Feldbaum decided not to charge Doe, Penn State had no method in


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place for Plaintiff to contest such a decision. See Exhibit “A” (“If the acquired information does

not reasonably support charges, then the case will be closed without charges, and both parties

will be notified.”).

                       November 28, 2017 – The Title IX Decision Panel

        327.    Since Doe contested the charges, the matter was scheduled for a hearing before a

Title IX Decision Panel.

        328.    According to the Code of Conduct, a Title IX Decision Panel is “a specific group

of faculty and staff authorized . . . to review cases alleging Title IX violations that have been

assigned to them, to determine whether a student has violated the Student Code of Conduct, and

to assign sanctions in response to violation(s). See https://studentaffairs.psu.edu/support-safety-

conduct/student-conduct/code-conduct (accessed May 21, 2018).

        329.    On November 28, 2017, Plaintiff attended and participated in Penn State’s Title

IX Decision Panel hearing.

        330.    At the Title IX Decision Panel hearing, Plaintiff again objected to Doe’s

introduction of a Polygraph Examination Report, which was an unreliable party third-party

report. Notably, Doe’s Polygraph Examination Report included only four questions that used to

the term “that girl” instead of Plaintiff’s name.

        331.    The Title IX Decision Panel also permitted Doe to submit new information.

Plaintiff objected to Doe’s submission of new information because this violated Penn State’s Title

IX Protocol. See Exhibit “A” (“When the hearing convenes, no new information may be provided

to the hearing authority, . . .”).

        332.    Later on November 28, 2017, Ms. Feldbaum informed Plaintiff that the Decision

Panel completed their review and determined that Doe would not be charged with a violation of

the Code of Conduct.


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        333.   On December 5, 2017, Penn State’s Title IX Decision Panel issued a decision that

Doe did not violate sections 2.05 – Non-Consensual Intercourse or category 2.07 – Sexual

Misconduct Involving Incapacitated Person of Penn State’s Code of Conduct.

        334.   On December 14, 2017, Plaintiff submitted an appeal of the Title IX Decision

Panel’s decision.

        335.   On January 5, 2018, Penn State denied Plaintiff’s appeal of Penn State’s Title IX

Decision Panel’s decision.

        336.   On January 25, 2018 – almost exactly one year following the January 28, 20-17

Incident – Plaintiff learned that Penn State denied her appeal request.

        337.   During this time period, Plaintiff never received a timeline for Penn State’s

investigation and was not informed that Penn State’s investigation would take longer than 60

days.

                    FACTS RELEVANT TO PLAINTIFF’S EPA CLAIM

        338.   From January 2017 until May 2018, Doe was on a leave of absence. Penn State

did not fill Doe’s position with University Police, which was Lieutenant/Hiring Manager.

        339.   From January 2017 until May 2018, Plaintiff did Doe’s job duties since Doe was

on a leave of absence.

        340.   Despite doing Doe’s job duties, Penn State did pay Plaintiff the same hourly rate

that Penn State paid to Doe, which was higher than Plaintiff’s hourly rate.

        341.   On March 20, 2018, University Police promoted Plaintiff promoted to

Lieutenant.

        342.   On May 5, 2018, Plaintiff graduated from Penn State and left her position with

the University Police since she is no longer a student.




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                                        COUNT I
                                  Violations of Title VII
                      Sexual Harassment – Hostile Work Environment
                                  Plaintiff v. Penn State

        343.    Plaintiff incorporates by reference paragraphs 1 through 342 as though the same

were set forth at length herein.

        344.    Taken together, the acts outlined above constitute a hostile work environment

based on sex.

        345.    Plaintiff suffered intentional discrimination because of her membership in a

protected class – female.

        346.    Such harassment was severe, pervasive, and regular.

        347.    Such harassment detrimentally affected Plaintiff.

        348.    Such harassment would detrimentally affect a reasonable person of the same

protected class in Plaintiff’s position.

        349.    Penn State knew or should have known of the harassment and failed to take

prompt remedial action. Lt. Grimm had actual knowledge about the existence of a sexually

hostile environment and failed to take prompt and adequate remedial action.

        350.    When Plaintiff went through the appropriate channels to alert her supervisors of

sexual harassment, Penn State repeatedly punished Plaintiff for doing so.

        351.    Penn State’s failure to protect Plaintiff from this environment is particularly

egregious in light of the fact that Plaintiff was in a law enforcement workplace.

        352.    Penn State’s conduct has been intentional, deliberate, willful, and in callous

disregard of Plaintiff’s rights.

        353.    As a result of Penn State’s actions and conduct, Plaintiff has suffered emotional

pain and distress, mental anguish, and loss of enjoyment of life’s pleasures.



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        354.    Penn State’s policies and practices have harmed Plaintiff with respect to the terms

and conditions of her employment.

        355.    By reason of Penn State’s retaliation, Plaintiff is entitled to all legal and equitable

remedies available under Title VII.

                                            COUNT II
                                      Violations of Title VII
                                           Retaliation
                                      Plaintiff v. Penn State

        356.    Plaintiff incorporates by reference paragraphs 1 through 355 as though the same

were set forth at length herein.

        357.    Penn State is also liable for numerous instances of unlawful retaliation in violation

of Title VII.

        358.    As averred above, Plaintiff engaged in protected activity by complaining to her

supervisors and numerous Penn State officials about illegal sexual harassment in the workplace.

        359.    As averred above, following Plaintiff’s protected activity, Penn State subjected

Plaintiff to adverse actions, including being passed over for promotion on several occasions, being

threatened with termination, having her hours cut significantly while the perpetrator of Plaintiff’s

sexual harassment was permitted to continue to work longer hours, and having to seek special

permission to work from a supervisor.

        360.    Penn State retaliated against Plaintiff in violation of Title VII.

        361.    Penn State’s conduct has been intentional, deliberate, willful, and in callous

disregard of Plaintiff’s rights.

        362.    Penn State’s policies and practices have harmed Plaintiff with respect to the terms

and conditions of her employment.




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        363.    By reasons of Penn State’s retaliation, Plaintiff is entitled to all legal and equitable

remedies available under Title VII.

                                    COUNT III
                              Violations of the PHRA
           Sexual Harassment – Hostile Work Environment and Retaliation
                               Plaintiff v. Penn State

        364.    Plaintiff incorporates by reference paragraphs 1 through 363 as though the same

were set forth at length herein.

        365.    The actions taken by Penn State as described above were unlawful and in

violation of the PHRA.

        366.    As a direct result of Penn State’s willful and unlawful actions in discriminating and

retaliating against Plaintiff in violation of Plaintiff’s rights under the PHRA, Plaintiff has suffered

great humiliation, embarrassment, discomfort, and suffering; moreover, Plaintiff has been

damaged in entering into further employment relationships, has suffered a loss of earnings and

employment benefits and a severely diminished earning capacity and may continue to suffer such

losses in the future.

                                         COUNT IV
                                    Violations of Title IX
                 Plaintiff v. Penn State and Penn State Board of Trustees

        367.    Plaintiff incorporates by reference paragraphs 1 through 366 as though the same

were set forth at length herein.

        368.    The sex-based harassment articulated in Plaintiff’s general allegations was so

severe, pervasive, and objectively offensive that it deprived Plaintiff of access to educational

benefits provided by the school.

        369.    Defendants created and/or subjected Plaintiff to a hostile educational

environment in violation of Title IX because:


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               (a)     Plaintiff, a female student, is a member of a protected class;

               (b)     Plaintiff was subjected to sexual harassment in the form of a sexual assault

       by another student;

               (c)     Defendants created the circumstances that permitted the sexual assault to

       take place because Defendants failed to follow normal reporting and investigative

       procedures where members of University Police were involved;

               (d)     Defendants’ failure to follow normal protocols in order to protect the

       university cultivated an environment in which female student employees became

       vulnerable to sexual harassment, including sexual assault;

               (e)     Plaintiff was subjected to a hostile educational environment created by

       Defendants’ lack of effective and appropriate policies and procedures to properly prevent,

       investigate, and address sexual assault and harassment and/or lack of implementation of

       effective and appropriate policies and procedures to properly prevent, investigate, and

       address sexual assault and harassment.

       370.    Defendants’ failure to promptly and appropriately respond to the sexual

harassment resulted in Plaintiff, on the basis of her sex, being excluded from participation in,

being denied the benefits of, and being subjected to discrimination in Penn State’s education

program in violation of Title IX.

       371.    Defendants failed to take immediate, effective remedial steps to resolve the

complaint of sexual harassment and instead acted with deliberate indifference toward Plaintiff.

       372.    Defendants persisted in its actions and inaction even after it had actual knowledge

of the harm suffered by Plaintiff.

       373.    Defendants engaged in a pattern and practice of behavior designed to discourage

and dissuade students who had been sexually assaulted from seeking assistance and protection,


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including but not limited to inadequate communication of its sexual misconduct policies; failure

to conduct a prompt investigation; failure to follow Penn State’s policies, Title IX Protocol, and

Title IX; and providing preferential treatment to Doe, a male student.

       374.    This policy or practice constitutes disparate treatment of female students and has

a disparate impact on female students.

       375.    Plaintiff has suffered emotional distress, psychological damages, physical

manifestation of psychological distress, humiliation, loss of self-esteem, loss of enjoyment of life,

loss of earnings, loss of earning capacity, and past and ongoing medical expenses as a direct and

proximate result of Defendants’ deliberate indifference to her rights under Title IX.

                                        COUNT V
                                Violations of Section 1983
                Plaintiff v. Penn State and Penn State Board of Trustees

       376.    Plaintiff incorporates by reference paragraphs 1 through 375 as though the same

were set forth at length herein.

       377.    Under the Fourteenth Amendment, Plaintiff, a female university student, had the

right to Equal Protection of Laws.

       378.    Defendants failed to preserve Plaintiff’s constitutional right to equal protection

as guaranteed by the Fourteenth Amendment.

       379.    Under the Equal Protection Clause of the Fourteenth Amendment, Plaintiff had

the right to equal access to an educational environment free from harassment and discrimination.

       380.    Defendants should have known that their response to sexual assault allegations

must comply with federal law, particularly as outlined in Title IX’s published and

widely promulgated implementing regulations.

       381.    At all relevant times, Defendants acted through their employees who were state

actors acting under the color of state law.


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        382.    Defendants subjected Plaintiff to violations of her right to and Equal Protection of

Laws by maintaining a custom, policy, and/or procedure that failed to take steps to protect

Plaintiff as necessary; treated Plaintiff with deliberate indifference; and failed to provide and/or

failing to implement an unbiased grievance procedure for students to file complaints of sexual

discrimination, including complaints of sexual violence.

        383.    Defendants also violated Plaintiff’s Fourteenth Amendment right to equal

protection by failing to properly train and supervise Penn State administrators, officials, and

employees as to their mandated investigative requirements.

        384.    Defendants’ policies and/or practices constitute disparate treatment of females

and had a disparate impact on female students.

        385.    Further, the sexual assault that Plaintiff suffered constituted a violation of

Plaintiff’s Fourteenth Amendment right to freedom from invasion of her personal security

through sexual abuse.

        386.    Defendants’ conduct has been intentional, deliberate, willful, and with callous

disregard of Plaintiff’s rights.

        387.    Defendants’ actions and lack of actions were the proximate cause of Plaintiff’s

emotional distress, psychological damages, physical manifestation of psychological distress,

humiliation, loss of self-esteem, loss of enjoyment of life, loss of earnings, loss of earning capacity,

and past and ongoing medical expenses, resulting from Penn State’s deliberate indifference to

Plaintiff’s right to equal protection under the Fourteenth Amendment.

        388.    Plaintiff is entitled to all legal and equitable remedies available under Section

1983.




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                                             COUNT VI
                                   Violations of the Equal Pay Act
                                       Plaintiff v. Penn State

        389.    Plaintiff incorporates by reference paragraphs 1 through 388 as though the same

were set forth at length herein.

        390.    As averred above, between January 2017 and May 2018, Plaintiff did Doe’s job

duties since Doe was on a leave of absence, which required equal skill, effort, and responsibility

under similar working conditions.

        391.    Penn State violated the EPA by paying Plaintiff less than Doe.

        392.    Penn State’s conduct has been intentional, deliberate, willful, and in callous

disregard of Plaintiff’s rights.

                                            COUNT VII
                                        Breach of Contract
                                       Plaintiff v. Penn State

        393.    Plaintiff incorporates by reference paragraphs 1 through 392 as though the same

were set forth at length herein.

        394.    The contract between an educational institution and its students includes its

policies that apply to students.

        395.    Thus, Policy AD-85 and the Code of Conduct created contractual obligations that

Penn State owed to Plaintiff.

        396.    As set forth in significant detail above, Penn State beached numerous obligations

that it owed to Plaintiff, including but not limited to:

                (a)      Failing to follow Policy AD-85 and Penn State’s Title IX Protocol after

        Plaintiff reported Officer Glen-Roundtree’s sexual harassment of Plaintiff;

                (b)      Failing to follow Policy AD-85 and Penn State’s Title IX Protocol after

        Plaintiff reported Officer Renninger’s sexual harassment of Plaintiff;


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                 (c)    Retaliating against Plaintiff on numerous occasions after Plaintiff reported

       violations of Policy AD-85, which is also a breach of Policy AD-85; and

                 (b)    Failing to follow Penn State’s Title IX Protocol with regards to Doe.

       397.      As a result of Penn State’s numerous breaches, Plaintiff has suffered damages.

                                          COUNT VIII
                                           Negligence
                                      Plaintiff v. Penn State

       398.      Plaintiff incorporates by reference paragraphs 1 through 397 as though the same

were set forth at length herein.

       399.      As averred above, two female students filed alleged sexual assault complaints

against Doe.

       400.      Penn State knew or should have known of these prior complaints.

       401.      Penn State owed Plaintiff a duty to investigate all allegations of sexual assault,

including those against Doe, and knew or should have known that Doe was a danger to Plaintiff

and other female students.

       402.      Penn State breached this duty by:

                 (a)    Failing to provide adequate training to supervisors in the University Police

       department;

                 (b)    Failing to adequately investigate the prior complaints against Doe;

                 (c)    Failing to ensure the safety of their student employees; and

                 (d)    Other negligence acts under the circumstances.

       403.      As both a direct and proximate cause of Penn State’s negligence, Plaintiff suffered

severe injuries without limitation, to his face causing him anxiety, fear, embarrassment, severe

and permanent physical and emotional injury, lost wages, lost earning capacity, and loss of life’s

pleasures.


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                                            COUNT IX
                                             Negligence
                                           Plaintiff v. Doe

       404.      Plaintiff incorporates by reference paragraphs 1 through 403 as though the same

were set forth at length herein.

       405.      Doe owed Plaintiff a duty not to cause injury to Plaintiff.

       406.      Doe breached this duty by negligently:

                 (a)    Causing Plaintiff to become intoxicated;

                 (b)    Causing himself to come into sexual contact with Plaintiff without

       Plaintiff’s consent; and

                 (c)    Other negligence acts under the circumstances.

       407.      As both a direct and proximate cause of Doe’s negligence, Plaintiff suffered severe

injuries without limitation, to his face causing him anxiety, fear, embarrassment, severe and

permanent physical and emotional injury, lost wages, lost earning capacity, and loss of life’s

pleasures.

                                         COUNT X
                           Assault and Battery (In The Alternative)
                                       Plaintiff v. Doe

       408.      Plaintiff incorporates by reference paragraphs 1 through 407 as though the same

were set forth at length herein.

       409.      Doe intentionally, knowingly and/or recklessly had sexual intercourse with

Plaintiff without her consent with and placed Plaintiff in fear of being sexually assaulted.

       410.      Doe intentionally, knowingly and/or recklessly physically contacted Plaintiff

representing indecent contact that a reasonable person should not be expected to tolerate.




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       411.      As both a direct and proximate cause of Doe’s assault and battery, Plaintiff

suffered injuries without limitation, to her body, fear, embarrassment, severe and permanent

emotional injury, lost wages, lost earning capacity, and loss of life’s pleasures.

       WHEREFORE, Plaintiff respectfully requests this Court to:

       (a)       Issue a Declaratory Judgment declaring that Penn State’s actions, as set forth in

this Complaint, violated Plaintiff’s rights under Title VII, the PHRA, Title IX, Section 1983, and

the EPA and that the Penn State Board’s actions, as set forth in this Complaint, violated

Plaintiff’s rights under Title IX and Section 1983;

       (b)       Enjoin and restrain Penn State, the Penn State Board, and all other persons acting

on behalf of, or in concert with, Penn State and the Penn State Board from engaging in such

unlawful practices.

       (c)       Enter judgment in favor of Plaintiff, and against Penn State, for back pay in the

amount of wages and fringe benefits it is determined that Plaintiff lost as a result of Penn State’s

unlawful conduct, together with interest.

       (d)       Enter judgment in favor of Plaintiff and against Penn State, placing Plaintiff in the

position she would have had absent Penn State’s unlawful conduct. In the alternative, award

Plaintiff front pay in the amount of wages and benefits it is determined that Plaintiff would lose

because of Penn State’s unlawful conduct.

       (e)       Enter judgment in favor of Plaintiff, and against Defendants Penn State and Doe,

for compensatory and punitive damages, as allowable by law, including but not limited to,

damages for emotional distress, together with interest.

       (f)       Award Plaintiff reasonable attorney’s fees together with the costs of this action.




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